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                          UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                              FORT MYERS DIVISION

TRACEY VILLALBA

                 Plaintiff,
                                                            Case No. 2:20-cv-00106-SPC-NPM
v.

SHARECARE, INC.

                 Defendant.
                                            /

                     NOTICE OF PENDENCY OF OTHER ACTIONS

          In accordance with Local Rule 1.04(d), I certify that the instant action:

     IS                 related to pending or closed civil or criminal case(s) previously filed
                        in this Court, or any other Federal or State court, or administrative
                        agency as indicated below:




 X IS NOT               related to any pending or closed civil or criminal case filed with this
                        Court, or any other Federal or State court, or administrative agency.

      I further certify that I will serve a copy of this Notice of Pendency of Other Actions
upon each party no later than fourteen days after appearance of the party.

Date: March 12, 2020                            /s/ Rachel A. Morris
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                                         Attorneys for Defendant, Sharecare, Inc.



                              CERTIFICATE OF SERVICE

      I certify that on this 12th day of March 2020, a copy of the foregoing was filed

electronically. A true and correct copy of the foregoing was sent via email to plaintiff’s

counsel as described below.

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                                         /s/ Rachel A. Morris
                                         Attorney




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